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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
    JAMES PRICE,                                     )
                                                     )
                 Plaintiff,                          )
                                                     )
         v.                                          )
                                                             Civil Action No. 18-1339 (CRC)
                                                     )
    UNITED STATES DEPARTMENT                         )
    OF JUSTICE, et al.,                              )
                                                     )
                 Defendants.                         )
                                                     )

              DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                  AS TO FEDERAL RECORDS ACT AND APA CLAIMS

        This case involves ten Freedom of Information Act (“FOIA”) requests submitted by

Plaintiff to Defendant United States Department of Justice (“the Department”), more specifically

the Criminal Division and the Office of Justice Programs (“Justice Programs”). 1 In conjunction

with his FOIA claims, Plaintiff alleges two claims brought under the Administrative Procedure

Act (“APA”) and the Federal Records Act against the Department and the National Archives and

Records Administration. As explained herein, in the attached Statement of Facts, the declarations

of Jeanette Plante Fitzpatrick (“Fitzpatrick Decl.”) and Jeffrey Gersh (“Gersh Decl.”), Defendants

are entitled to judgment as a matter of law with respect to Plaintiff’s Federal Records Act claims.



                                            *    *       *




1
        Defendants addressed the remaining FOIA claims on October 21, 2020. See ECF No. 98.
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Dated: December 21, 2020           Respectfully submitted,

                                   MICHAEL R. SHERWIN
                                   Acting United States Attorney

                                   Daniel F. Van Horn, D.C. Bar #924092
                                   Chief, Civil Division

                                   By: /s/ Kathleene Molen
                                   KATHLEENE MOLEN
                                   Assistant United States Attorney
                                   555 4th Street, N.W.
                                   Washington, District of Columbia 20530
                                   Telephone: (202) 803-1572
                                   Kathleene.Molen@usdoj.gov

                                   Counsel for Defendants




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